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8                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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10   GLORIA J. MURNANE,                       )   Case No.: 5:19-cv-01539-SHK
                                              )
11                 Plaintiff,                 )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         )   U.S.C. § 1920
14                                            )
                   Defendant                  )
15                                            )
                                              )
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17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $3,900.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE:       10/20/2020
23                              ___________________________________
                                THE HONORABLE SHASHI KEWALRAMANI
24                              UNITED STATES MAGISTRATE JUDGE
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